931 F.2d 887Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Stephen RAMOS, Plaintiff-Appellant,v.Aaron JOHNSON;  L.V. Stephenson, C.L. Sparkman, RamsonHayes, C. Davenport, L. Robinson, Officer Storms,W.H. Keen, Mr. Kidd, D. Bordeaux, L.Johnson, James Kelly,Defendants-Appellees,andH.L. Chambers, William Stafford, Officer Young, MarvaJohnson, Defendants.
    No. 91-7259.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 8, 1991.Decided April 25, 1991.
    
      Appeal from the United States District Court for the Eastern District of North Carolina, at Raleigh.  Malcolm J. Howard, District Judge.  (CA-90-635)
      Stephen Ramos, appellant pro se.
      E.D.N.C.
      DISMISSED.
      Before MURNAGHAN, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Stephen Ramos appeals from the district court's order dismissing certain defendants and certain claims in connection with his action seeking relief pursuant to 42 U.S.C. Sec. 1983.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."    Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).1
    
    
      4
      Finding no basis for appellate jurisdiction, we dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.2
    
    
      5
      DISMISSED.
    
    
      
        1
         We also note that we do not have jurisdiction over this appeal for the additional reason that Ramos did not file a timely notice of appeal or obtain an extension of the appeal period.  See Fed.R.App.P. 4(a)
      
      
        2
         In view of over disposition of this case, we deny Ramos's motion for appointment of counsel
      
    
    